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     04/10/2019                   /s/ John M. Hyams



                                  /s/ John E. DeLack




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